                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

BRYANT NEIL BROWN

Plaintiff,

v.                                            Case No.: 4:19-cv-00345-MW-MAF

HON. WALTER McNEIL, as Sheriff of Leon
County, Florida, and CORIZON LLC, a
Health Services Corporation, and MARIA
LILIANA GARCIA, MD, CELESTE MACDONALD,
And DEBBIE SELLERS, individually,

Defendants.

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     PARTIES JOINT STATUS REPORT PURSUANT TO ORDER (DOC 11)

        COMES NOW, all parties, by and through undersigned counsel and hereby

provides a Joint Status Report regarding discovery pursuant to The Initial

Scheduling Order (Additions in Bold.) :


     1. On October 25, 2019, Defendants Corizon LLC, Maria Garcia MD, Celeste

        MacDonald and Debbie Sellers filed their Answer and Affirmative

        Defenses.

     2. On November 5, 2019, Defendant McNeil filed his Unopposed Motion For

        Extension of Time to respond to complaint, requesting an extension until

        November 15, 2019.
3. On November 15, 2019 Defendant McNeil filed his Answer and Affirmative

   Defenses.

4. On November 18, 2019 Defendant McNeil served its First Request For

   Production and First Interrogatories to Plaintiff. Plaintiff’s responses were

   served on December 23, 2019.

5. On November 19, 2019 Defendant Corizon, LLC served its First Request

   For Production and First Interrogatories to Plaintiff. Plaintiff’s responses

   were served on December 23, 2019.

6. On December 2, 2019 Defendant McNeil filed his Initial Rule 26

   Disclosures.

7. On December 2, 2019 Defendants Corizon, LLC, Garcia, Macdonald and

   Sellers, filed their Initial Rule 26 Disclosures.

8. On December 2, 2019 Plaintiff filed his Initial Rule 26 Disclosures.

9. On December 30, 2019 Defendant McNeil filed his First Supplemental Rule

   26(a)(2) Disclosures.

10.On January 9, 2020, Plaintiff filed his First Amended Rule 26(a)(2)

   Disclosures.

11.On January 30, 2020, Defendants Corizon, LLC, Garcia, Macdonald and

   Sellers, filed their Supplemental Rule 26 Disclosures.




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12.On March 12, 2020, Defendants Corizon, LLC, Garcia, Macdonald and

   Sellers, filed their Second Supplemental Rule 26 Disclosures.

13.On April 30, 2020, Plaintiff filed his Second Amended Rule 26(a)(1)

   Disclosures.

14.On May 5, 2020 Plaintiff served his First Request For Admissions, Request

   For Production and Interrogatories to Defendant McNeil.

15.On May 5, 2020 Plaintiff served his First Request For Admissions, Request

   For Production and Interrogatories to Defendant Corizon.

16.On May 7, 2020 Plaintiff served his First Request For Admissions, Request

   For Production and Interrogatories to Defendants Garcia, Sellers and

   MacDonald.

17.On June 4, 2020 Defendant Corizon served its Responses to Plaintiff’s

   First Request For Production, Plaintiff’s First Request For Admissions

   and First Interrogatories.

18. On June 8, 2020 Defendant Garcia served her Responses to Plaintiff’s

   First Request For Production, Plaintiff’s First Request For Admissions

   and First Interrogatories.

19.On June 8, 2020 Defendant MacDonald served her Responses to

   Plaintiff’s First Request For Production, Plaintiff’s First Request For

   Admissions and First Interrogatories.


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20.On June 8, 2020 Defendant Sellers served her Responses to Plaintiff’s

   First Request For Production, Plaintiff’s First Request For Admissions

   and First Interrogatories.

21.On June 15, 2020 Defendant McNeil served Responses to Plaintiff’s

   First Request For Admissions, First Request For Production and First

   Interrogatories.

22.On June 25, 2020 Plaintiff served his Third Rule 26(a)(1) Disclosures.

23.On July 2, 2020 Plaintiff filed his Motion To Compel Better Answers

   From Defendant McNeil

24. On July 4, 2020 Plaintiff filed his Motion To Compel Better Answers

   From Defendant Corizon

25.On July 7, 2020 Corizon filed its Third Supplemental Rule 26(a)(1)

   Disclosures.

26.On July 8, 2020 Defendant Corizon served a Notice of Unavailability of

   Counsel from July 12-19, 2020.

27.On July 9, 2020 Defendant McNeil served his Second Supplemental

   Response to Plaintiff’s First Request For Production and Amended

   Answers to Plaintiff’s First Interrogatories.

28.On July 9, 2020 Defendant Corizon served its Supplemental Response to

   Plaintiff’s First Request For Production and First Interrogatories.


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29.Only July 10, 2020 Plaintiff filed his Withdrawal of Motion To Compel

   to Defendant McNeil.

30.On July 10, 2020 Plaintiff filed his Withdrawal of Issues of Motion To

   Compel to Defendant Corizon (Doc 51).

31.On July 12, 2020 Plaintiff filed his Fourth Rule 26(a)(1) Disclosures.

32.On July 13, 2020 Plaintiff served his Rule 26(a)(2)(C) Treater-Expert

   Summary.

33.July 13, 2020 Defendants Garcia, Sellers and MacDonald served their

   Notice of Serving Verified Answers to Plaintiff’s First Interrogatories.

34.July 13, 2020 Defendant Corizon served its Notice of Serving Verified

   Answers to Plaintiff’s First Interrogatories and Notice of Serving

   Supplemental Response to Plaintiff’s First Interrogatories.

35.July 14, 2020 Defendant Corizon served its Amended Notice of Serving

   Verified Answers to Plaintiff’s First Interrogatories and Amended

   Notice of Serving Supplemental Response to Plaintiff’s First

   Interrogatories.

36.On July 15, 2020 Plaintiff filed his Withdrawal of Issues of Motion To

   Compel to Defendant Corizon (Doc 57).

37.July 15, 2020 Defendant Corizon served its Notice of Serving

   Supplemental Response to Plaintiff’s First Request For Admissions,


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   Second Supplemental Response to Plaintiff’s First Interrogatories and

   Second Supplemental Response to Plaintiff’s First Request For

   Production.

38.On July 10, 2020 Plaintiff filed his Withdrawal of Issues of Motion To

   Compel to Defendant Corizon (Doc 58).

39.On July 15, 2020 Defendant Corizon filed its Response to Plaintiff’s

   Motion To Compel Better Answers.

40.On July 22, 2020 Plaintiff filed his Reply to Defendant Corizon’s

   Response to Motion to Compel

41.On July 23, 2020 Defendant Corizon filed its Supplemental Response to

   Plaintiff’s Motion to Compel.

42.On July 30, 2020 Plaintiff served his Notice of Deposition of Defendants

   MacDonald, Garcia (in her individual capacity and a Corporate

   Representative), Sellers (in her individual capacity and a Corporate

   Representative).

43.On August 3, 2020 Defendant Corizon served its Notice of Deposition of

   Plaintiff.

   Respectfully submitted this 7th day of August, 2020.




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/s/ Jami M. Kimbrell                        /s/ Dawn P. Whitehurst
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, a true and correct copy of the foregoing has been

provided to all counsel via CM/ECF this 7th day of August 2020.


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